           Case 2:11-cr-00354-TLN Document 33 Filed 02/24/12 Page 1 of 3


 1   DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
 2   BENJAMIN D. GALLOWAY, Bar# 214897
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700

 5   Attorney for Defendant
     OSCAR GOMEZ GORIBALDO
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,    )
12                                )      CR. S-11-354 LKK
                  Plaintiff,      )
13                                )      STIPULATION AND ORDER
             v.                   )
14                                )      DATE: May 15, 2012
     EVARISTO ARREOLA-VENTURA, et )      TIME: 9:15 a.m.
15   al.,                         )      JUDGE: Hon. Lawrence K. Karlton
                                  )
16                Defendants.
     __________________________
17
18      It is hereby stipulated and agreed to between the United States of
19   America through TODD LERAS, Assistant U.S. Attorney, and defendant,
20   OSCAR GOMEZ GORIBALDO by and through his counsel, BENJAMIN GALLOWAY,
21   Assistant Federal Defender and defendant, EVARISTO ARREOLA-VENTURA, by
22   and through his attorney, OLAF HEDBERG that the status conference set
23   for Tuesday, February 28, 2012, be continued to Tuesday, May 15, 2012,
24   at 9:15 a.m., for status conference.
25      The reason for this continuance is to allow defense counsel
26   additional time to review discovery with the defendant, to examine
27   possible defenses and to continue investigating the facts of the case.
28      It is further stipulated that the time period from the date of this
              Case 2:11-cr-00354-TLN Document 33 Filed 02/24/12 Page 2 of 3


 1   stipulation, February 23, 2012, through and including the date of the
 2   new status conference, May 15, 2012, shall be excluded from computation
 3   of time within which the trial of this matter must be commenced under
 4   the Speedy Trial Act, pursuant to 18 U.S.C. §§ 3161 (h)(7)(B)(iv)and
 5   Local Code T4 [reasonable time for defense counsel to prepare], and
 6   that the ends of justice served by the granting of such continuance
 7   outweigh the interests of the public and the defendant in a speedy
 8   trial.
 9   DATED: February 23, 2012                Respectfully submitted,
10                                           DANIEL J. BRODERICK
                                             Federal Defender
11
                                             /s/ Benjamin Galloway
12                                           BENJAMIN GALLOWAY
                                             Assistant Federal Defender
13                                           Attorney for Defendant
                                             OSCAR GOMEZ GORIBALDO
14
15
                                             /s/ Benjamin Galloway for
16                                           OLAF HEDBERG attorney for
                                             EVARISTO ARREOLA-VENTURA
17
18   DATED: February 23, 2012                BENJAMIN B. WAGNER
                                             United States Attorney
19
                                             /s/ Benjamin Galloway for
20                                           TODD LERAS
                                             Assistant U.S. Attorney
21                                           Attorney for Plaintiff
22
23
                                       O R D E R
24
        Based on the stipulation of the parties and good cause appearing
25
     therefrom, the Court hereby adopts the stipulation of the parties in
26
     its entirety as its order.        It is hereby ordered that the presently set
27
     February 28, 2012, status conference shall be continued to May 15,
28
     2012, at 9:15 a.m..      It is further ordered that the time period from

                                               2
           Case 2:11-cr-00354-TLN Document 33 Filed 02/24/12 Page 3 of 3


 1   the date of the parties' stipulation, February 23, 2012, through and
 2   including the date of the new status conference hearing, May 15, 2012,
 3   shall be excluded from computation of time within which the trial of
 4   this matter must be commenced under the Speedy Trial Act, pursuant to
 5   18 U.S.C. § 3161 (h)(7)(B)(iv) and Local Code T4 [reasonable time for
 6   defense counsel to prepare].
 7      Based on the stipulation of the parties and good cause appearing
 8   therefrom, the Court hereby finds that the failure to grant a
 9   continuance in this case would deny defense counsel reasonable time for
10   effective preparation taking into account the exercise of due
11   diligence.   The Court specifically finds that the ends of justice
12   served by the granting of such continuance outweigh the interests of
13   the public and the defendant in a speedy trial.
14      IT IS SO ORDERED.
15
16
17
     DATED: February 24 2012
18                                        LAWRENCE K. KARLTON
                                          SENIOR JUDGE
19                                        UNITED STATES DISTRICT COURT
20
21
22
23
24
25
26
27
28


                                            3
